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        ORAL ARGUMENT SCHEDULED FOR JANUARY 9, 2023
                                     No. 23-3228

           UNITED STATES COURT OF APPEALS
         FOR THE DISTRICT OF COLUMBIA CIRCUIT

                          UNITED STATES OF AMERICA,
                                                                    Appellee,
                                         v.

                               DONALD J. TRUMP,
                                                        Defendant-Appellant.

                 On Appeal from the United States District Court
                 for the District of Columbia, No. 1:23-cr-00257
                     Before the Honorable Tanya S. Chutkan

       BRIEF OF FORMER GOVERNMENT OFFICIALS AND
  CONSTITUTIONAL LAWYERS AS AMICI CURIAE IN SUPPORT OF
                APPELLEE AND AFFIRMANCE


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   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

      Pursuant to D.C. Circuit Rule 28(a)(1), amici curiae certify as follows:

      A.     Parties And Amici

      Except for the amici joining this brief and any other amici who had not yet

entered an appearance in this case as of the filing of this brief, all parties,

intervenors, and amici appearing before the district court and this Court are listed

in appellant’s brief.

      B.     Rulings Under Review

      References to the ruling at issue appear in appellant’s brief.

      C.     Related Cases

      Related cases are listed in appellant’s brief.




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                  CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and D.C. Circuit Rule

26.1, amici curiae state that no party to this brief is a publicly held corporation,

issues stock, or has a parent corporation.




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                   D.C. CIRCUIT RULE 29(d) STATEMENT

      Pursuant to D.C. Circuit Rule 29(d), amici curiae state that this separate brief

is necessary to provide amici’s unique perspective on the significance of this

appeal for effective enforcement of the criminal laws of the United States. Given

the expedited nature of this appeal, amici submitting this brief are unable to file a

single brief with amici who have previously filed briefs or with other unidentified

potential amici.




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                        INTEREST OF AMICI CURIAE1

      Amici are 16 former prosecutors, elected officials, other government

officials, and constitutional lawyers who have collectively spent decades defending

the Constitution, the interests of the American people, and the rule of law. As

such, amici have an interest in the proper scope of executive power and the faithful

enforcement of criminal laws enacted by Congress. Amici respectfully submit this

brief to explain why the immunity defendant seeks in this case is inconsistent with

our Constitution and would subvert the bedrock principle that no person is above

the law.

      Bradford A. Berenson served as Associate Counsel to the President in the

George W. Bush Administration (2001-2003).

      Gregory A. Brower served as U.S. Attorney for the District of Nevada in

the George W. Bush and Obama Administrations, appointed by President George

W. Bush (2008-2009).

      Tom Campbell served as a Member of the U.S. House of Representatives

(R-CA) (1989-1993, 1995-2001); and is the Doy and Dee Henley Distinguished

Professor of Jurisprudence at the Chapman University Fowler School of Law.


1
  Amici submit this brief pursuant to Federal Rule of Appellate Procedure 29(a)(2).
No counsel for a party authored this brief in whole or in part, and no person other
than the amici curiae or their counsel made a monetary contribution intended to
fund the preparation or submission of this brief. All parties consent to the filing of
this brief.


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      Ty Cobb served as Special Counsel to the President in the Trump

Administration (2017-2018); Senior Trial Counsel to Independent Counsel Judge

Arlin Adams (1995); and Assistant U.S. Attorney for the District of Maryland

(1980-1986).

      Tom Coleman served as a Member of the U.S. House of Representatives

(R-MO) (1976-1993).

      George T. Conway III serves as Board President, Society for the Rule of

Law; and he principally authored the brief for respondent opposing immunity in

Clinton v. Jones, 520 U.S. 681 (1997).

      John J. Farmer Jr. served as New Jersey Attorney General, appointed by

Governor Christine Todd Whitman (1999-2002); Chief Counsel to Governor

Whitman (1997-1999); Deputy Chief Counsel to Governor Whitman (1996-1997);

Assistant U.S. Attorney for the District of New Jersey in the George H.W. Bush

and Clinton Administrations (1990-1994); and Senior Counsel to the 9/11

Commission (2003-2004).

      Patrick J. Fitzgerald served as U.S. Attorney for the Northern District of

Illinois in the George W. Bush and Obama Administrations, appointed by

President George W. Bush (2001-2012); and Special Counsel for the U.S.

Department of Justice (2003-2007).




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      William Kristol served as Chief of Staff to Vice President Dan Quayle

(1989-1993).

      Philip Allen Lacovara served as Deputy Solicitor General in the Nixon

Administration (1972-1973); Counsel to the Special Prosecutor, Watergate Special

Prosecutor’s Office (1973-1974); and drafted the brief for the United States and

presented argument in United States v. Nixon, 418 U.S. 683 (1974).

      John McKay served as U.S. Attorney for the Western District of

Washington in the George W. Bush Administration (2001-2007).

      Trevor Potter served as Chairman of the Federal Election Commission

(1994); and Commissioner of the Federal Election Commission, appointed by

President George H.W. Bush (1991-1995).

      Claudine Schneider served as a Member of the U.S. House of

Representatives (R-RI) (1981-1991).

      Fern M. Smith served as Judge of the U.S. District Court for the Northern

District of California, appointed by President Reagan (1988-2005); and as Director

of the Federal Judicial Center (1999-2003).

      Olivia Troye served as Special Advisor, Homeland Security and

Counterterrorism to Vice President Mike Pence (2018-2020).




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      William F. Weld served as Governor of Massachusetts (1991-1997); U.S.

Assistant Attorney General for the Criminal Division in the Reagan Administration

(1986-1988); and U.S. Attorney for the District of Massachusetts in the Reagan

Administration (1981-1986).




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            INTRODUCTION AND SUMMARY OF ARGUMENT

      Defendant, former President Trump, asks this Court to grant him immunity

from federal criminal prosecution for all official acts he took while he occupied the

Presidency. The district court concluded that this extraordinary request has no

basis in our constitutional text, structure, or history, and amici agree.

      I. Defendant’s position cannot be squared with the Constitution’s text or

history. He repeatedly invokes implied separation-of-powers principles,

contending that the imposition of criminal liability on him would unduly impair the

Executive Branch. But it is defendant’s claimed immunity—not his prosecution—

that would undermine those principles. The immunity he seeks would severely

impair the ability of the current President, in whom all executive powers are

vested, see U.S. Const. art. II, § 1, cl. 1, to take care that Congress’s laws

proscribing obstruction of federal elections are faithfully executed. And by asking

the Judicial Branch to fashion a sweeping atextual immunity from whole cloth, he

draws the Judiciary and the Executive into conflict.

      II. Even if former Presidents had some limited immunity from criminal

prosecution, it could not conceivably cover the acts alleged here. First, many of

the acts alleged in this indictment plainly constitute campaign activities that would

not be protected even if there were some official-duty immunity from criminal

prosecution. Second, defendant’s alleged acts fall far outside any core presidential



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duty or function: many of the acts alleged plainly constitute electioneering, and in

any event, the Constitution entrusts presidential elections to the States and the

Congress, not to the President. U.S. Const. art. II, § 1, cls. 2, 3, 4. Indeed, the

alleged criminal activity here raises a uniquely dangerous constitutional threat—

the Chief Executive using his purported authority to violate the Executive Vesting

Clause, U.S. Const. art. II, § 1, cl. 1, and remain in power beyond his legitimate

term. Such activity threatens our constitutional structure at its core and, by its very

nature, eviscerates one of the primary constitutional checks on presidential

misconduct—rebuke by the people at the ballot box.

                                    ARGUMENT

I.    THE CONSTITUTION DOES NOT ENDOW FORMER PRESIDENTS WITH
      IMMUNITY FROM CRIMINAL PROSECUTION

      Defendant’s claimed immunity finds no support in the Constitution’s text or

historical practice. Nor can it remotely be squared with separation-of-powers

principles made explicit in the Executive Vesting Clause and inherent in the

structure of the Constitution; to the contrary, it subverts them.

      A.     No Constitutional Provision Immunizes Former Presidents From
             Criminal Responsibility

      As the district court correctly noted, “[t]here is no ‘Presidential Immunity’

Clause” in the Constitution. JA604-605 (Dist. Ct. Op.), cert. before judgment

denied, United States v. Trump, No. 23-624 (U.S. Dec. 22, 2023). That omission is



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telling. The Framers plainly knew how to shield officials from liability when they

wanted to do so, as the Speech or Debate Clause illustrates. See U.S. Const. art. I,

§ 6, cl. 1 (providing that “for any Speech or Debate in either House,”

congresspersons “shall not be questioned in any other Place”).

      Far from barring the prosecution of former Presidents, the Constitution’s text

explicitly contemplates such proceedings. The Impeachment Judgment Clause

provides that “[j]udgment in Cases of Impeachment shall not extend further than to

removal from Office, and disqualification to hold and enjoy any Office of honor,

Trust or Profit under the United States: but the Party convicted shall nevertheless

be liable and subject to Indictment, Trial, Judgment and Punishment, according to

Law.” U.S. Const. art. I, § 3, cl.7. The Clause preserves the Executive’s ability to

hold a former official “liable and subject to Indictment, Trial, Judgment and

Punishment, according to Law,” while limiting Congress’s power of impeachment

to removal and disqualification from certain positions. Id.

      Defendant’s alternate interpretation—that the Impeachment Judgment

Clause permits prosecution of former Presidents only if they have first been

impeached and convicted at trial by the Senate—has no basis in the text. The

Clause speaks to “identifying the … penalties associated with impeachment,” not

limiting the criminal prosecution of former officeholders. JA607 (Dist. Ct. Op.).

And the error of defendant’s reading is underscored by its sweeping and absurd



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consequences. It could effectively immunize former Presidents for criminal

conduct that occurs, or is discovered, too late for the impeachment process to run

its course. Even more fundamentally, the Impeachment Judgment Clause pertains

to the Senate’s authority over all impeachable officers—not only the President, but

also the “Vice President and all civil Officers of the United States.” U.S. Const.

art. II, § 4. Under defendant’s interpretation, the Executive would lack power to

prosecute all current and former civil officers for acts taken in office unless

Congress first impeached and convicted them. That would permit countless

officials to evade criminal liability, including when the charges do not fit into the

class of crimes that qualify for impeachment, and potentially when officials’

crimes are discovered only after they leave office.

      Such an outcome would also contradict decades of practice in which the

Executive Branch has prosecuted, and the Judicial Branch has convicted, civil

officers for crimes committed while in office—regardless of whether they were

first convicted in an impeachment trial. See, e.g., United States v. Isaacs, 493 F.2d

1124, 1144 (7th Cir. 1974) (per curiam) (“[W]e are convinced that a federal judge

is subject to indictment and trial before impeachment.”); Imbler v. Pachtman, 424

U.S. 409, 429 (1976) (stating that prosecutors would “fare no better” than judges,

“[who] could be punished criminally”); United States v. Claiborne, 765 F.2d 784,




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788, 805 (9th Cir. 1985) (affirming conviction of sitting district court judge

convicted of “willfully underreport[ing] his taxable income”).

      In sum, the Constitution does not confer any kind of immunity upon former

Presidents for conduct that violates the criminal laws of the United States and

instead contemplates that a former President might be prosecuted for crimes

committed in office.

      B.     History And Settled Practice Confirm That Former Presidents
             Are Not Immune From Federal Criminal Prosecution, Even For
             Official Acts

      Historical practice confirms that former Presidents are not immune from

federal criminal prosecution, even for official acts. While the “king of Great

Britain [was] sacred and inviolable” and “amenable” to “no constitutional

tribunal,” the Framers ensured the President would be “liable to prosecution and

punishment in the ordinary course of law.” The Federalist No. 69 (Alexander

Hamilton), http://tinyurl.com/y8m79547.

      The Framers intended the Presidency to bear a closer “resemblance” to “the

governor of New York,” The Federalist No. 69 (Alexander Hamilton), than to a

monarch with “royal prerogatives[,]” The Federalist No. 67 (Alexander Hamilton),

http://tinyurl.com/4pth25h3. Former Governors, of course, are subject to federal

criminal prosecution. See Barnhart, As Andrew Cuomo Charged, These Other

Governors Have Faced Criminal Charges, Newsweek (Oct. 28, 2021),



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https://tinyurl.com/4s5x82p9. So too does the Constitution require that a former

President be held responsible for his violations of criminal law.

       Past practice reflects this understanding. Former Presidents have recognized

their and their predecessors’ vulnerability to prosecution. President Clinton, for

example, expressly admitted that he gave false testimony under oath as part of “a

deal with the independent counsel … that ensure[d] he [would] avoid

indictment”—a deal that would be unnecessary if he were immune from

prosecution. Harris & Miller, In a Deal, Clinton Avoids Indictment, Wash. Post

(Jan. 20, 2001), https://tinyurl.com/bdekva86. During his first term, President

Grant was arrested for speeding his carriage along the streets of Washington, D.C.

Prakash, Prosecuting and Punishing Our Presidents, 100 Tex. L. Rev. 55, 82-83

(2021). President Grant did not claim immunity, but submitted to arrest, posted

(and later forfeited) collateral for a court appearance, and “signaled a welcome

willingness to honor a familiar principle: every American is equal before the law.”

Id. at 83.

       Historical practice also recognizes that former Presidents can be criminally

liable even for acts allegedly committed in the context of official presidential

business. President Ford, for example, granted President Nixon a “full, free, and

absolute pardon” for “all offenses against the United States” committed during his

administration, and President Nixon accepted the pardon. See President Gerald R.



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Ford’s Proclamation 4311, Granting a Pardon to Richard Nixon, Ford Presidential

Library (Sept. 8, 1974), https://tinyurl.com/5c6xb3m9; Statement by Former

President Richard Nixon 1, Ford Presidential Library (Sept. 8, 1974),

https://tinyurl.com/5yuj8r8k. President Nixon had attempted to wrap his

wrongdoing in the mantle of official presidential investigatory action, just as

defendant does here.2 Nevertheless, Presidents Ford and Nixon recognized, by

granting and accepting the pardon, that a pardon was necessary to shield the former

President from criminal prosecution for allegedly official acts.

      Indeed, defendant himself acknowledged during his second impeachment

trial that a former President is subject to criminal prosecution for allegedly official

acts. His counsel made clear that “no former officeholder is immune” from the

criminal judicial process:

      The Constitution expressly provides in article I, section 3, clause 7
      that a convicted party, following impeachment, “shall nevertheless be

2
  See, e.g., Brief on behalf of the President of the United States: Hearings Before
The Committee On The Judiciary, House of Representatives, 93rd Cong., 2d Sess.
Pursuant to H. Res. 803, at 68 (July 18, 1974) (“[T]he President conducted a
personal investigation and, based on the results of this investigation and in
coordination with the Department of Justice, took Presidential action and removed
several key White House staff members from office. The President’s action was a
function of his constitutionally-directed power to see that the laws are ‘faithfully
executed’ and was well within the wide discretion afforded him under the
executive power doctrine.”), https://tinyurl.com/yb9n9cxz; cf. Transcript of David
Frost’s Interview with Richard Nixon, Teaching American History (1977)
(statement of former President Nixon) (“[W]hen the president does it … that
means that it is not illegal.”), https://tinyurl.com/3tepc92n.


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      liable and subject to indictment, trial, judgment, and punishment
      according to law” [after removal]. Clearly, a former civil officer who
      is not impeached is subject to the same.

      We have a judicial process in this country. We have an investigative
      process in this country to which no former officeholder is immune.
      That is the process that should be running its course. That is the
      process the bill of attainder [clause] tells us is the appropriate one for
      investigation, prosecution, and punishment, with all of the attributes
      of that branch. … [The Article III courts] provide that kind of
      appropriate adjudication. That is accountability.

167 Cong. Rec. S601, S607 (daily ed. Feb. 9, 2021) (emphases added).

      Just as importantly, Senators voting for acquittal at defendant’s

impeachment trial expressly relied on the continued availability of criminal

prosecution for the President’s wrongful actions. See 167 Cong. Rec. S735, S736

(statement of Sen. McConnell) (daily ed. Feb. 13, 2021) (“President Trump is still

liable for everything he did while he was in office, as an ordinary citizen—unless

the statute of limitations is run, still liable for everything he did while he was in

office. He didn’t get away with anything yet … . We have a criminal justice

system in this country.”). Those proceedings involved the same acts alleged in the

indictment here. H.R. Res. 24, 117th Cong. (2021) (Article of Impeachment).

      In short, the immunity defendant seeks would break with settled practice and

tradition and contradict the positions defendant himself previously took regarding

his exposure to criminal liability.




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      C.     Extending Criminal Immunity To Former Presidents Would
             Subvert The Separation Of Powers And Undermine The Public
             Interest

      Defendant contends that structural separation-of-powers principles compel

his immunity from criminal prosecution. Exactly the opposite is true: it is his

claimed immunity, not his prosecution, that would subvert the separation of

powers.

      In Nixon v. Fitzgerald, 457 U.S. 731 (1982), the Supreme Court reasoned

that any kind of presidential immunity must be “rooted in the separation of powers

under the Constitution,” since the text of the Constitution does not explicitly grant

any such shield. Id. at 753 (quoting United States v. Nixon, 418 U.S. 683, 708

(1974)). But “[i]t is settled law that the separation-of-powers doctrine does not bar

every exercise of jurisdiction over the President.” Id. at 753-754. Rather, whether

a court should decline to exercise jurisdiction over the President requires a court to

“balance [1] the constitutional weight of the interest to be served” by the exercise

of jurisdiction “against [2] the dangers of intrusion on the authority and functions

of the Executive Branch.” Id. at 754.

      Here, there is no need to balance the two factors set out in Fitzgerald against

each other, as neither weighs in defendant’s favor. Granting former Presidents

immunity from criminal prosecution would greatly “intru[de] on the authority and

functions” of the current Executive Branch, in violation of the Take Care and



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Executive Vesting Clauses. Fitzgerald, 457 U.S. at 754. And there are few

weightier constitutional interests than the public’s interest in the enforcement of

the federal criminal laws that protect our Constitution’s electoral processes from

abuse.

               1.     Granting Former Presidents Immunity Would Intrude On
                      The Executive Branch’s Authority

         Defendant contends that the Judiciary—by exercising jurisdiction over him

based on acts taken while he was President—intrudes on the Executive Branch’s

authority. Quite the opposite is true.

         The Executive Branch, acting within the core of its constitutional

responsibility to “take Care that the Laws be faithfully executed,” U.S. Const. art.

II, § 3, has decided, after years of investigation and deliberation, to pursue criminal

charges against defendant. Defendant’s claim to immunity thus poses an internal

Executive Branch dispute between two Executives—one former, one current—not

an interbranch conflict such as the one at issue in Trump v. Mazars USA, LLP, 140

S. Ct. 2019, 2033 (2020) (noting “the significant separation of powers issues raised

by congressional subpoenas for the President’s information”).

         And in the present dispute, there is not much of a contest. The Executive

Vesting Clause vests the executive power in a single President—the current

President. U.S. Const. art. II, § 1 cl. 1 (“The executive Power shall be vested in a

President of the United States of America.” (emphasis added)); see also Trump v.


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Thompson, 20 F.4th 10, 33 (D.C. Cir. 2021) (“Under our Constitution, we have one

President at a time.”). As a former President claiming constitutional authority

belonging to an office he no longer occupies—for the express purpose of

undermining the Executive Branch’s authority to prosecute him (indeed, for

subverting the peaceful transition of power the Constitution dictates)—defendant’s

arguments lack any constitutional purchase. His claim to the mantle of protecting

executive interests is particularly weak where, as here, the Department of Justice—

the institution tasked with protecting the long-term interests of the Executive

Branch—is the authority bringing the suit and disclaiming the theory of immunity

he espouses.

      Exercising jurisdiction here, then, does not impair another Branch’s

prerogative; rather, it vindicates the current Executive’s interest in enforcing the

laws and the Judiciary’s interest in the adjudication of an alleged criminal offense.

See Nixon, 418 U.S. at 707 (“The impediment that an absolute, unqualified

privilege would place in the way of the primary constitutional duty of the Judicial

Branch to do justice in criminal prosecutions would plainly conflict with the

function of the courts under Art. III.”).

      By contrast, defendant’s claim to immunity is antithetical to and subversive

of the separation of powers. Defendant’s argument would intrude upon the

Judicial Branch’s constitutional power to “check” the Executive, even as defendant



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simultaneously seeks to wield the Judicial Branch to obstruct the Executive’s

prosecutorial prerogatives. But “‘the separation-of-powers doctrine requires that a

branch not impair another in the performance of its constitutional duties.’” Clinton

v. Jones, 520 U.S. 681, 701 (1997). Indeed, the Supreme Court has made clear that

it has “never held that the performance of the duties of judicial, legislative, or

executive officers, requires or contemplates the immunization of otherwise

criminal deprivations of constitutional rights,” because “the judicially fashioned

doctrine of official immunity does not reach ‘so far as to immunize criminal

conduct proscribed by an Act of Congress.’” O’Shea v. Littleton, 414 U.S. 488,

503 (1974) (quoting Gravel v. United States, 408 U.S. 606, 627 (1972)). Similarly

here, the judicial power should not be employed to subvert the authority of the

Executive Branch as it seeks to enforce criminal statutes enacted by the Legislative

Branch.

      Defendant cites Fitzgerald to argue that his immunity is necessary to avoid

chilling a President’s capacity to “deal fearlessly and impartially with the duties of

his office.” See Appellant Br. 24 (quoting Fitzgerald, 457 U.S. at 752). But

Fitzgerald rejected only private civil suits against a former President. Fitzgerald

underscored that jurisdiction would be “warranted” when, as here, such action is

necessary “to vindicate the public interest in an ongoing criminal prosecution.”

457 U.S. at 754 (emphasis added).



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      Indeed, the possibility that the President might be “chilled” in his executive

functions by threat of later criminal sanction is baked into the Constitution itself.

The President is always at risk of impeachment for “high Crimes and

Misdemeanors,” and always at risk of criminal prosecution, since even under

defendant’s theory, prosecution may follow impeachment. Fitzgerald’s concern

about the potential chilling effects of myriad civil suits is therefore simply

inapposite in the criminal context, where the constitutional design expressly

contemplates that a President will perform his duties despite the threat—and

perhaps perform those duties better because of the threat—of impeachment and/or

conviction for criminal actions.

      Finally, the policy concerns underlying Fitzgerald do not support its

extension to the criminal context. First, the Judiciary’s role in safeguarding the

Executive’s free rein to “‘deal fearlessly … with’ the duties of the office,” 457

U.S. at 752, sits differently in the federal criminal context. The fact that federal

criminal prosecution is brought by the Executive Branch diminishes the likelihood

that improper intrusion will occur. The current Executive is, of course, “vitally

concerned with and in the best position to assess the present and future needs of the

Executive Branch.” Nixon v. Administrator of Gen. Servs., 433 U.S. 425, 449

(1977). The decision of the incumbent Executive to file criminal charges against a

former President—particularly in light of the certainty that all Presidents will



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someday add “former” to their title and thus must concern themselves with the

precedent they set—“detracts from the weight” of defendant’s assertion that

absolute immunity from federal criminal prosecution is necessary to protect the

Presidency. Id.; see id. (“[T]he fact that neither President Ford nor President

Carter supports appellant’s claim detracts from the weight of his contention that

the Act impermissibly intrudes into the executive function and the needs of the

Executive Branch.”).3

      Second, the risk of “intrusion” posed by private civil suits brought against a

former President is markedly different from the risk posed by a former President’s

federal criminal prosecution. While the Fitzgerald Court expressed concern that a

former President would be an “easily identifiable target” for “numerous suits” for

civil liability, 457 U.S. at 753 & n.33, there is but a single Executive Branch

empowered to bring federal criminal charges. Denying immunity in this context

thus does not expose a former President to a multitude of suits possible in the civil



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   Cf. Thompson, 20 F.4th at 32-33 (“A court would be hard-pressed under these
circumstances to tell the President that he has miscalculated the interests of the
United States … .”). Moreover, even if a court were inclined to question whether a
current Executive’s decisions regarding, for example, whether to waive executive
privilege adequately protect the Executive Branch’s long-term interests, see Trump
v. Thompson, 142 S. Ct. 680 (2022) (Kavanaugh, J., respecting denial of
application for stay), a court should be particularly loath to use the Article III
judicial power to second-guess an incumbent Executive regarding a core Article II
obligation that the Constitution assigns to him—ensuring that the criminal laws are
faithfully executed.


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context, but instead to the decision of a single, politically accountable branch of

government. Subject to the Attorney General’s oversight, officers of that single

branch must adhere to professional obligations prohibiting frivolous or malicious

prosecutions—an obligation so well recognized that prosecutors are presumed,

“‘absen[t] … clear evidence to the contrary’” to “‘have properly discharged their

official duties.’” United States v. Armstrong, 517 U.S. 456, 464 (1996). Even

when prosecutors issue an indictment, they are bound by yet another check: the

required sign-off from a grand jury “prohibited from engaging in ‘arbitrary fishing

expeditions’” or acting “‘out of malice or an intent to harass.’” Trump v. Vance,

140 S. Ct. 2412, 2428 (2020).

      Third, criminal defendants enjoy robust procedural protections from the

judiciary not available to civil litigants, including the privilege against self-

incrimination, U.S. Const. amend. V, the higher burden of proof placed upon the

Government to establish criminal liability, see, e.g., United States v. O’Brien, 560

U.S. 218, 224 (2010), and the heightened mens rea requirement for criminal

liability, see, e.g., Ruan v. United States, 597 U.S. 450, 457-458 (2022). Those

features alleviate the risk that a President will face judicial process for an action

undertaken in good faith while occupying the office of the Presidency.




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             2.     The Public Interest Overwhelmingly Outweighs Any
                    Purported Intrusion on the Executive Branch

      On the other side of the scale, the public interest in the enforcement of

federal criminal law far outweighs any perceived intrusion on the Executive

Branch. “When judicial action is needed to serve broad public interests—as when

the Court acts … to vindicate the public interest in an ongoing criminal

prosecution—the exercise of jurisdiction has been held warranted.” Fitzgerald,

457 U.S. at 754 (citations omitted). It is difficult to imagine a weightier public

interest in the exercise of jurisdiction than in the cases where defendant’s theory of

immunity would apply: to charges that a former President took actions in his

official capacity that violated criminal law—indeed that he acted to subvert the

democratic transition of power the Constitution itself mandates.

      Even if the exercise of jurisdiction in this case posed some limited intrusion

on the Executive Branch, but see supra Part I.C.1, the public’s interest in judicial

process to adjudicate intentional criminal abuses of executive power would be

more than sufficient to overcome it. Affording former Presidents virtual impunity

for even the most egregious misconduct would controvert a fundamental norm of

our constitutional scheme: that “[n]o man in this country is so high that he is

above the law.” United States v. Lee, 106 U.S. 196, 220 (1882).




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II.   EVEN IF FORMER PRESIDENTS HAD SOME LIMITED IMMUNITY AGAINST
      CRIMINAL PROSECUTION, IT COULD NOT CONCEIVABLY REACH THE ACTS
      ALLEGED HERE

      Even if one could hypothesize a circumstance in which immunity for a

former President might be warranted, no tenable formulation of immunity could

reach defendant’s machinations alleged here. The indictment alleges that

defendant in many instances acted as a private candidate for re-election. Even

defendant’s own theory provides no immunity over such activities. Further,

defendant allegedly acted to thwart the peaceful transfer of power that the

Constitution demands. Any immunity that would shield those acts would

contravene fundamental constitutional provisions.

      First, even if it could conceivably be proper to transplant Fitzgerald’s “outer

perimeter” test from the private civil liability context to the federal criminal

context, defendant’s argument fails on its own terms. That is because many of the

actions alleged in the indictment are ones defendant took in his private capacity as

a candidate for re-election. Even defendant’s own theory provides no immunity

for such activities.

      As this Court recently explained in a private civil damages suit arising out of

the same series of events alleged here, a defendant cannot claim the shield of

official-duty immunity for actions taken in his private capacity as a candidate for

re-election. Blassingame v. Trump, 87 F.4th 1, 3-4 (D.C. Cir. 2023). Just as in



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Blassingame, many of the allegations here pertain to defendant’s role as a

candidate seeking to retain his office, not as a President conducting official

business.

      The indictment alleges that defendant launched his conspiracy to subvert the

legitimate results of the 2020 election shortly after election day. JA32 (¶13).

Rebuffed by members of his original campaign staff, defendant cobbled together a

shadow campaign led by Co-Conspirator 1, who “would spearhead his efforts

going forward to challenge the election results.” Id. He was joined in those efforts

by the other co-conspirators listed in the indictment who—with the exception of

Co-Conspirator 4—were private individuals working to effectuate a second term in

office for defendant—not official members of defendant’s administration working

on the business of running the country. See JA26-27 (¶8). By contrast, official

members of defendant’s administration repeatedly explained to him that his claims

of election fraud were untrue and refused to engage in his scheme. See JA30

(¶11(a)-(e)).

      Many of defendant’s alleged actions in furtherance of the conspiracy relied

directly on campaign resources. Most notably, the indictment alleges that

defendant leaned heavily on campaign staff to organize fraudulent slates of electors

to transmit false certificates to Congress. For example, after devising the plan,

“the Defendant and Co-Conspirator 2 called the Chairwoman of the Republican



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National Committee to ensure that the [elector] plan was in motion,” telling her

that “it was important for the RNC to help the Defendant’s Campaign gather

electors in targeted states, and falsely represent[ing] to her that such electors’ votes

would be used only if ongoing litigation in one of the states changed the results in

the Defendant’s favor.” JA46 (¶56); see also, e.g., JA47-49 (¶¶61, 63-64). These

activities were “organized, promoted, and funded by campaign channels,

personnel, and resources,” and were accordingly unofficial in nature.

Blassingame, 87 F.4th at 21.

      Moreover, as this Court observed in Blassingame, even defendant

acknowledged that his efforts to challenge the results of the election were

unofficial acts taken in his private capacity. See 87 F.4th at 16-17. When

defendant moved to intervene in the Supreme Court’s consideration of Texas v.

Pennsylvania, No. 22O155 (U.S. Dec. 9, 2020) (“Trump S. Ct. Mot. to Intervene”),

“he specifically explained to the Supreme Court (and captioned his filing

accordingly) that he sought to ‘intervene in this matter in his personal capacity as a

candidate for re-election to the office of President of the United States,’” so that he

might “‘protect his unique and substantial personal interests as a candidate for re-

election to the Office of President.’” Blassingame, 87 F.4th at 16 (quoting Trump

S. Ct. Mot. to Intervene 14, 24). The primary purpose of granting a President

official-act immunity from civil liability—“assuring that the President is not



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‘unduly cautious in the discharge of his official duties’” simply “has no salience”

where, as here, “the President acts—by his own admission—in an unofficial,

private capacity.” Id.

      Second, even those acts that defendant argues were undertaken in his official

capacity are so irreconcilable with the commands of the Constitution and

legitimate executive functions that no viable formulation of immunity could

support shielding them. Far from constituting an executive prerogative, those acts

do not relate to any assigned presidential duty. Rather, the Constitution explicitly

tasks the States with selecting presidential electors. See U.S. Const. art. II, § 1, cl.

2 (“Each State shall appoint, in such Manner as the Legislature thereof may direct,

a Number of Electors … .”). It gives Congress the power to “determine the Time

of chusing the Electors, and the Day on which they shall give their Votes.” Id. art.

II, § 1, cl. 4. And it directs the President of the Senate, “in the Presence of the

Senate and House of Representatives,” to oversee the electoral count. Id. art. II,

§ 1, cl. 3. Notably absent is any contemplated role for the President, perhaps in

recognition of a President’s self-interest when seeking re-election. Defendant’s

alleged efforts to subvert the electoral process and interject fake electors to usurp

the role of the electors duly appointed by the States is thus not a legitimate exercise

of executive power, let alone a core executive function. To the contrary, those




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efforts represent a transgression of the separation of powers and a breach of our

republican form of government that would have outraged the Founders.

      Indeed, defendant’s alleged scheme is a frontal assault on the Constitution’s

Executive Vesting Clause, which provides that “the executive Power shall be

vested in a President of the United States of America,” who “shall hold his Office

during the Term of four Years.” U.S. Const. art. II, § 1 cl. 1. The Twentieth

Amendment reiterates that the President’s term “shall end at noon on the 20th day

of January …; and the term[]of [the] successor[]shall then begin.” Id. amend. XX,

§ 1 (emphasis added). Accordingly, when a President’s re-election efforts fail, the

Constitution requires that the President be divested of executive power so it can be

vested in his successor. To allow a President who has failed to win re-election to

leverage his existing power to prevent the constitutionally required vesting of

executive power in his successor would endanger one of the most fundamental

operations of the Constitution: the peaceful transfer of executive power at the end

of a President’s term. Indeed, granting a former President the immunity defendant

seeks here would create a perverse incentive for sitting Presidents to engage in

misconduct in order to stay in power illegally. A President could override the

electoral will of the nation and maintain control of the government with near

impunity, tempered only by the off chance that his opposition might, for the first

time in history, successfully impeach and convict him. This Court should reject



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any theory of presidential immunity that would endanger the operation of the

Executive Vesting Clause, which has preserved the stability of our Nation for over

200 years.

                                 CONCLUSION

      The Court should affirm the district court’s decision.

                                                Respectfully submitted.

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this brief complies with the type-volume limitation of Fed. R. App. P. 29(a)(5) and

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                                                 /s/ Seth P. Waxman
                                                 SETH P. WAXMAN


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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 29th day of December, 2023, I electronically

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                                               /s/ Seth P. Waxman
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